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                     IN THE UNITED STATES DISTRICT COURT
                        EASTERN DISTRICT OF ARKANSAS
                              WESTERN DIVISION



UNITED STATES OF AMERICA                                                PLAINTIFF

vs.                            NO. 4:12CR00117-001 SWW

FREDDIE MENDOZA                                                         DEFENDANT


                                          ORDER

       Pending before the Court is defendant’s unopposed motion to continue the sentencing

hearing previously scheduled September 18, 2013. The Court finds that the motion should be

granted.

       IT IS THEREFORE ORDERED that the motion to continue the sentencing hearing [doc

#65] for the above named defendant shall be, and it hereby is, GRANTED. The sentencing hearing

is now scheduled for THURSDAY, OCTOBER 10, 2013 at 9:00 A.M. in Courtroom #389 in Little

Rock, Arkansas.

       IT IS SO ORDERED this 16th day of September 2013.



                                    /s/Susan Webber Wright
                                    UNITED STATES DISTRICT JUDGE
